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1          The Court concludes that the Government is not entitled to a

2    rebuttable presumption that no condition or combination of conditions will

3    reasonably assure the defendant’s appearance as required and the safety or

4    any person or the community [18 U.S.C. § 3142(e)(2)].

5          The Court finds that no condition or combination of conditions will

6    reasonably assure:

7                 ‫ ܈‬the appearance of the defendant as required.

8                 ‫ ܈‬the safety of any person or the community.

9          The Court has considered the following:

10         (a) the nature and circumstances of the offense(s) charged, including

11         whether the offense is a crime of violence, a Federal crime of terrorism,

12         or involves a minor victim or a controlled substance, firearm, explosive,

13         or destructive device;

14         (b) the weight of evidence against the defendant;

15         (c) the history and characteristics of the defendant; and

16         (d) the nature and seriousness of the danger to any person or the

17         community.

18   See 18 U.S.C. § 3142(g) The Court also considered the report and

19   recommendation of the U.S. Pretrial Services Agency.

20         The Court bases its conclusions on the following:

21         As to risk of non-appearance:

22                ‫܈‬     Unknown background information, as Defendant declined

23   to interview with Pretrial Services;

24                ‫܈‬     Unknown bail resources;

25                ‫܈‬     Defendant was born in Mexico and is in the United States

26   illegally.

27
28         As to danger to the community:

                                            2
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1                ց     Allegations in the affidavit in support of the Complaint.

2          It is therefore ORDERED that Defendant Luis Rafael Villareal-Uriarte

3    be detained until trial. The defendant will be committed to the custody of the

4    Attorney General for confinement in a corrections facility separate, to the

5    extent practicable, from persons awaiting or serving sentences or being held

6    in custody pending appeal. The defendant will be afforded reasonable

7    opportunity for private consultation with counsel. On order of a Court of the

8    United States or on request of any attorney for the Government, the person

9    in charge of the corrections facility in which defendant is confined will deliver

10   the defendant to a United States Marshal for the purpose of an appearance in

11   connection with a court proceeding. See 18 U.S.C. § 3142(i).

12   Dated: November 3, 2021
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                                  PATRICIA DONAHUE
                                    _______________________________
15                                  PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
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